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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


                                                    )
   BRENNAN M. GILMORE,                              )
                                                    )
                 Plaintiff,                         )
                                                    )
   v.                                               )   No. 3:18-cv-00017-NKM-JCH
                                                    )
   ALEXANDER E. (ALEX) JONES, et al.,               )
                                                    )
                 Defendants.                        )
                                                    )
                                                    )

                                   JOINT RULE 26(f) REPORT

         Further to this Court’s January 16, 2020 Order, the parties hereby submit the following report

  (the “Report”) summarizing the parties’ telephonic conference pursuant to Federal Rule of Civil

  Procedure 26(f) (the “Conference”):

    I.   Attendees

         The parties convened telephonically on January 27, 2020.

         The following counsel attended on behalf of the Plaintiff: Hassen Sayeed, Anwar Graves,

  Jeffrey Kopcynski, and James Li (O’Melveny & Myers LLP); Andrew Mendrala (Cohen Milstein

  Sellers & Toll PLLC); Brianne Gorod and Ashwin Phatak (Constitutional Accountability Center);

  Aderson Francois and Heather Abraham (Georgetown University Civil Rights Clinic).

         The following counsel attended on behalf of Defendants James Hoft, Scott Creighton,

  Derrick Wilburn, Michele Hickford, and Words-N-Ideas, LLC: Aaron Walker

         The following counsel attended on behalf of Defendants Alex Jones, InfoWars, LLC and

  Free Speech Systems, LLC: Elizabeth Scully and Tom Albro

         Pro se defendant Lee Stranahan attended on his own behalf.
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         II. Pretrial Scheduling Order

          The parties continue to believe that a phased discovery process (i.e., fact expert and expert

  discovery occurring sequentially) is appropriate. Pursuant to the Court’s Order (D.I. 178), the parties

  agreed in the Conference that the parties shall exchange the required disclosures under Federal Rule

  of Civil Procedure 26(a)(1) on February 5, 2020. Every party has done so since then, except Mr.

  Stranahan. The parties agree and respectfully submit that the remaining pretrial deadlines set forth

  in their January 13, 2020 Joint Proposed Scheduling Order (D.I. 178) should govern this action. The

  parties believe that this schedule will provide the appropriate intervals to request, process, and secure

  the anticipated discovery in this case. A revised copy of the parties’ Proposed Stipulated Scheduling

  Order (including a proposed date for referral to ADR) is attached to this Report for the Court’s review

  as Exhibit A.

     III. Assignment to Magistrate Judge

          The parties did not discuss whether they consent to the jurisdiction of a Magistrate Judge at

  this time.

     IV. Settlement/ADR

          The parties do not rule out the possibility of a future settlement, but have not reached any

  agreement at this time. Although it was not discussed during the Conference, all parties, except

  those represented by Mr. Walker, believe that the earliest juncture at which settlement or ADR

  discussions may be useful is at the close of fact discovery. Mr. Walker believes that such discussions

  might be useful at any time. The parties have included such a referral date in their Joint Proposed

  Scheduling Order, attached hereto as Exhibit A.        In the event the parties believe that a judicial

  settlement conference conducted by the Magistrate Judge may be beneficial at some other time, the

  parties agree to contact this Court to request such a conference.




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    V. Discovery Plan

                A. Discovery of Electronically Stored Information (“ESI”)

                          i.     Preservation

         Counsel for the parties confirmed during the Conference that they had advised their clients

  to preserve all discoverable material. Mr. Stranahan confirmed that he had preserved all discoverable

  information. Counsel for Plaintiff advised that the Plaintiff intends to collect discoverable material

  from at least the Defendants’ computer laptops, servers, social media sites, and phones. Defendants

  also intend to seek discoverable material from electronic devices in the possession, custody and

  control of Plaintiff, including material electronically stored on his computer and the phone that he

  used to take the video in Charlottesville.

                          ii.    The Search and Collection of ESI

         The parties anticipate that a significant percentage of production in this case will be in the

  form of ESI. Mr. Walker does not believe that the amount of document production from his clients

  is likely to amount to much, stating he would be surprised if there was more than one hundred pages

  of documents. The parties agree that search terms are likely needed in order to obtain all relevant

  information. The parties further agree that they will meet and confer in order to determine relevant

  search terms prior to production. The parties will agree to meet and confer regarding the production

  of video files. The parties also discussed the format of other ESI production, but were not able to

  reach agreement.

                          iii.   Claims of Privilege and Protective Orders

         The parties anticipate they may need to file a motion for entry of a Protective Order to protect

  certain confidential, personnel, financial, and personal information. The parties agree that such a

  Protective Order will include a provision governing the inadvertent production of privileged

  information as governed by Federal Rule of Evidence 502.

         Pursuant to Federal Rule of Civil Procedure 26(b)(5), the parties agree that they will assert
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  claims of attorney-client privilege and/or work product protection over otherwise discoverable

  documents through the use of privilege logs. The log shall describe the nature of the withheld

  document in a manner that, without revealing information itself privileged or protected, will enable

  other parties to assess the claim of privilege. The parties further agree that any document production

  from which responsive documents are withheld on the basis of privilege shall be accompanied by

  the relevant privilege log or by a statement identifying the date certain by which the log will be

  produced, which date certain shall not be more than fourteen calendar days after the underlying

  production occurs. The parties also agree that they need not log entries for privileged documents

  generated after the date of the complaint in this case.

                B. Discovery Limits

                          i.     Depositions

         During the Conference, Plaintiff raised the issue of increasing the number of depositions

  beyond the limit of ten permitted by Federal Rule of Civil Procedure 30. The parties could not reach

  agreement, but agreed to meet and confer about this issue as the litigation proceeds. In discussions

  outside of the Conference, the Plaintiff agreed to travel to Florida in connection with the expected

  deposition of defendant Scott Creighton, as requested by his counsel to accommodate Mr.

  Creighton’s health.

                          ii.    Interrogatories

         During the Conference, Plaintiff raised the issue of increasing the number of interrogatories

  beyond the limit set forth in Federal Rule of Civil Procedure 33. The parties could not reach

  agreement, but agreed to meet and confer about this issue as the litigation proceeds and to approach

  the Court if warranted. The parties agree in the interim that, pursuant to Federal Rule of Procedure

  33, each party may be served up to 25 interrogatories by any other party.

                          iii.   Third-Party Discovery

         During the Conference, all Defendants except Mr. Stranahan disclosed that they anticipate
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  seeking third-party discovery from the State Department concerning Plaintiff’s employment.

  Plaintiff is presently unable to determine whether or not he will seek third-party discovery, and

  expects that issue to be clarified as party discovery proceeds.

        VI.      Miscellaneous Issues

                A.       Preservation of ESI

                          i.     Plaintiff’s Statement

         Based on the Conference, Plaintiff has concerns about the extent to which some Defendants

  have preserved discoverable data consistent with their preservation obligations.           During the

  Conference, for example, Mr. Walker (counsel for defendant Scott Creighton) advised the parties

  that Mr. Creighton no longer has access to his American Everyman website or YouTube channel

  because they have been suspended. Counsel for Mr. Creighton further advised that he is not aware

  whether Mr. Creighton backed up that information, or if it is still available. The number of cell

  phones and computers in the possession of James Hoft, Scott Creighton, Derrick Wilburn, Michele

  Hickford, and Words-N-Ideas, LLC, and whether those Defendants had turned off auto-deletion

  features was also not clear during the Conference. Plaintiff believes that a significant part of the

  relevant discovery in this case will involve production from the parties’ email and text messaging

  accounts, at least with respect to the issue of intent. In the event that discovery disputes arise as a

  result of preservation issues, Plaintiff expects that the parties will meet and confer and that he will,

  if necessary, file appropriate motions with the Court.

                          ii.    Statement of Defendants James Hoft, Scott Creighton, Derrick
                                 Wilburn, Michele Hickford, and Words-N-Ideas, LLC

         Mr. Walker believes that Mr. Creighton has no ability or obligation to control the

  preservation efforts of third parties and that he has no access to his American Everyman website or

  YouTube channel because they have been suspended. Mr. Walker states that Plaintiff’s counsel gave

  him no indication that the Plaintiff was going to inquire about this prior to the Conference. Mr.

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  Walker also states that Plaintiff’s counsel gave no indication that the Plaintiff was going to inquire

  prior to the Conference about the number of cell phones and computers in the possession of James

  Hoft, Scott Creighton, Derrick Wilburn, Michele Hickford, and Words-N-Ideas, LLC, and whether

  those Defendants had turned off auto-deletion features. Further, Plaintiff’s counsel claimed that

  messages were typically automatically deleted from iPhones after a year, but Mr. Walker disputed

  that, noting that he had never turned off any such feature and he can retrieve messages from several

  years in the past on his iPhone. Mr. Walker noted that he cannot be held responsible for knowing

  the intricacies and subtleties of every device, application and program in existence. He also noted

  that Plaintiff’s counsel had sent their own hold letters to all of his clients, which were presumably

  sufficient to serve their purposes.

         Mr. Walker believes that it is unlikely that a significant portion of discovery in this case will

  involve production from the parties’ email and text messaging accounts. Mr. Creighton’s website

  and YouTube channel were essentially “one man shows.” He had no editor, no supervisor, no staff,

  etc. He simply published what he wanted. Mr. Hoft has a staff, but he has no supervisor. Both of

  them are unlikely to have any discussions with third parties regarding the creation or publication of

  their pieces. Further, while Words-N-Ideas, LLC has some infrastructure that was likely to have

  been engaged, discussions with his clients indicated that the engagement was not very deep and not

  likely to produce very many pages in terms of documents.

                          iii.   Statement of Lee Stranahan

         Mr. Stranahan advised the parties during the Conference that he no longer has access to his

  YouTube channel. Nevertheless, he believes that he is in possession of all relevant discoverable

  materials, including videos. On February 7, 2020, he wrote the parties asking to include in this

  Report the following statement: he wishes to advise the Court that he was not informed by his

  previous counsel about the one-year auto-deletion feature of iPhone messages. Subsequent to the

  Conference, he checked his iPhone and discovered that this auto-deletion feature had not been
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  deactivated. He now believes that he has lost messages from his iPhone from longer than one year

  ago.

                B. Search and Collection of ESI

                          i.    Plaintiff’s Statement

         Based on the Conference, Plaintiff understood that Defendants Hoft, Creighton, Wilburn,

  Hickford, and Words-N-Ideas, LLC would be collecting their own ESI for production. On February

  7, 2020, Mr. Walker indicated in the revisions of this Report that he would be providing guidance to

  those parties with respect to collection. Plaintiff believes that collection of ESI from represented

  parties should be conducted by or with the direct assistance of their counsel. Plaintiff is willing to

  continue discussions with defendant Stranahan in order to ensure that his ESI is appropriately

  produced, including if necessary by assisting him with collection and the engagement of a vendor.

                          ii.   Statement of Defendants James Hoft, Scott Creighton, Derrick
                                Wilburn, Michele Hickford, and Words-N-Ideas, LLC

         As of this writing, Mr. Walker has indicated that he would provide guidance to his clients

  with respect to collection. Mr. Walker states that these clients will collect their own ESI for

  production under his guidance because of the distance and other difficulties associated with a set of

  Defendants spread all over the country. Mr. Walker noted that no counsel would be assisting them

  if they were pro se, as Mr. Stranahan is, and that his clients should not be punished for retaining

  counsel. Plaintiff’s counsel also suggested that Defendants Hoft, Creighton, Wilburn, Hickford, and

  Words-N-Ideas, LLC be required to engage in a third-party company to gather this information for

  them. Mr. Walker objected on the grounds that the volume of discovery anticipated did not justify

  the cost, invasion of privacy, or inconvenience that such a procedure would involve, to find what

  amounts to a handful at most of documents for each defendant.




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                C.       Production Format

                          i.     Plaintiff’s Statement

         Plaintiff believes that absent unique circumstances (e.g., Microsoft Excel spreadsheets

  warranting native production), all ESI in this case should be produced as single-image TIFFs with

  load files. Production of documents as printouts or as PDFs with Optical Character Recognition will

  exclude metadata necessary to preserve the integrity of the document.

                          ii.    Statement of Defendants James Hoft, Scott Creighton, Derrick
                                 Wilburn, Michele Hickford, and Words-N-Ideas, LLC

         Plaintiff’s counsel did not express during the Conference that they believe that metadata is

  necessary to confirm the underlying integrity of documents. Mr. Walker notes that all data can be

  altered, and, therefore, metadata is no more credible than any other kind of data. Returning to

  discussion that occurred during the Conference, Mr. Walker maintains that the case does not involve

  a sufficient number of documents or sufficient stakes to justify the expense of purchasing specific

  programs to convert to a specific file format.

                D. Depositions

                          i.     Plaintiff’s Statement

         Plaintiff anticipates that he will seek leave of court for additional depositions in the event an

  agreement on this issue cannot be reached during fact discovery. There are already seven individual

  defendants in this case (Defendants Creighton, Stranahan, Hoft, McAdoo, Jones, Wilburn, and

  Hickford) and three corporate defendants (Defendants InfoWars, LLC; Free Speech Systems, LLC;

  and Words-N-Ideas) from which Plaintiff anticipates seeking deposition testimony. To the extent

  discovery uncovers discoverable and relevant information from third parties, for example, Plaintiff

  would lack recourse to pursue depositions of those individuals absent an agreement by the parties or

  leave of the Court.




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                          ii.    Statement of Defendants James Hoft, Scott Creighton, Derrick
                                 Wilburn, Michele Hickford, and Words-N-Ideas, LLC

          The Defendants did not rule out an agreement on this point in the future, but cannot consent

  at this time. This is because, at this stage in the case, Plaintiff’s counsel is (understandably) unable

  to be sufficiently specific to allow the Defendants to know what they are consenting to. The parties

  will agree to meet and confer regarding this issue.

                          iii.   Statement of Lee Stranahan

          Mr. Stranahan wishes to advise the Court that he does not intend to seek depositions from

  any third parties.




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  Dated: February 7, 2020             Respectfully Submitted,



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                                    CERTIFICATE OF SERVICE


           I hereby certify that on this 7th day of February, 2020, a copy of the foregoing Joint Rule

  26(f) Report was served on all parties via the Court’s Electronic Case Filing (ECF) system, and

  separately sent via first-class mail to Mr. Lee Stranahan, 1440 G Street, N.W., Washington, D.C.

  20005.




                                                                 /s/ Anwar L. Graves
                                                                   Anwar L. Graves




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